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                                    STATEMENT OF FACTS

        Your affiant,                 , is a Special Agent of the Federal Bureau of Investigation
(“FBI”). I have been employed with the FBI since 2015. I am an “Investigative or Law
Enforcement Officer” within the meaning of Section 2510(7) of Title 18, United States Code, that
is, an officer of the United States who is empowered by law to conduct investigations of, and to
make arrests for, offenses enumerated in Title 18, United States Code. My primary duties and
responsibilities involve the investigation of violations of federal law including Domestic Terrorism
Organizations (DTO), violent crime and gangs, criminal enterprises, and drug trafficking
organizations, as found in Title 18 of the United States Code. I am currently assigned to the
Indianapolis Field Office, Fort Wayne Resident Agency of the FBI and am assigned to the
Indianapolis Joint Terrorism Task Force (“JTTF”).

        During my tenure as a Special Agent, I have investigated various criminal enterprises,
domestic terrorism organizations, narcotics trafficking, violent incident crime including homicides
and bank robberies, and gang related activity. I have authored numerous search warrant affidavits,
conducted physical surveillance, assisted in the execution of search warrants, analyzed phone and
internet records, and conducted arrests of criminal subjects. Prior to joining the FBI, I was an Adult
Probation Officer in Allen County, Indiana, where I supervised a caseload consisting of individuals
with substance abuse and mental health issues, along with conducting pre-sentence investigations.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
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and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                        Identification of Blake Patterson and Ryan Holden

        On or about February 6, 2021, Individual 1 sent photographs to the FBI of a cell phone
displaying selfie-style photos of a person he/she claimed to be BLAKE PATTERSON
(“PATTERSON”) from inside the U.S. Capitol building. Individual 1 is a close aquantaince of
PATTERSON and has known PATTERSON for several years. In the photos, PATTERSON was
wearing a black motorcycle-style jacket with white stripes across the chest and the word “ALPHA”
stitched in white on the left chest, a black tactical helmet with “TRUMP 2020” written in white on
the front, and had a blue Trump flag which was wrapped around his neck and draped over his back
(Figures 1 and 2). In Figure 2, a white male—later identified at RYAN HOLDEN ("HOLDEN”)—
is photographed alongside PATTERSON. On January 6, HOLDEN wore a black motorcycle-style
jacket with dark gray stripes across the back and upper chest, with a green hood protruding from
it, a black gaiter around his neck, and occasionally black goggles. HOLDEN’s jacket, like
PATTERSON’s, also appeared to have the word “ALPHA” stitched in dark gray on the left chest
and on the back of his jacket.

       Individual 1 was later interviewed by the FBI on March 18, 2021. Individual 1 stated that
PATTERSON traveled to Washington, D.C. with HOLDEN. Individual 1 stated that HOLDEN
was PATTERSON’s long-time friend and was an attorney who worked out of Chicago and Fort
Wayne. Open-source database checks revealed that HOLDEN is, in fact, a barred attorney in
Indiana. Individual 1 did not know if HOLDEN went inside the U.S. Capitol with PATTERSON.
Individual 1 was shown a video clip from Metropolitan Police Department body-worn camera
footage (“BWC”) and identified PATTERSON as one of the individuals in the video clip.
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  Figures 1 & 2: Photographs sent to the FBI of PATTERSON (circled in red) and HOLDEN
                                     (circled in yellow).

        On November 15, 2021 a search warrant was executed on PATTERSON’s residence in
Fort Wayne, Indiana. During the search of this residence, a black helmet resembling what he wore
at the Capitol on January 6 (Figure 3) and a black “ALPHA” motorcycle jacket (Figure 4) was
located and seized.




Figure 3: Black helmet with “Trump 2020” was located and seized at PATTERSON’s residence.
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    Figure 4: Black “ALPHA” motorcycle jacket was located and seized at PATTERSON’s
                                      residence.

         On November 15, 2022, an agent from FBI-Indianapolis interviewed Individual 2, who is
one of PATTERSON’s close aquantainces and has known PATTERSON for several years.
Individual 2 was shown the below photograph (Figure 5). Individual 2 identified the individual on
the left as PATTERSON and the person on the right as HOLDEN.




 Figure 5: Photograph shown to Individual 2, who identified PATTERSON (left) and HOLDEN
                                          (right).

       According to records obtained from a search warrant which was served on AT&T, on
January 6, 2021, in and around the time of the incident, the cellphone associated with XXX-XXX-
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4882 was identified as having utilized a cell site consistent with providing service to a geographic
area that included the interior of the United States Capitol building.

      On November 1, 2022, AT&T produced documents indicating the subscriber of phone
number XXX-XXX-4882 was a BLAKE PATTERSON.


                   Blake Patterson and Ryan Holden’s Conduct on January 6

       At approximately 2:33 p.m., I observed BLAKE PATTERSON and RYAN HOLDEN on
United States Capitol Police (“USCP”) Closed Circuit Television (“CCTV”) on restricted Capitol
Grounds, walking up a stairway, which had been temporarily built for the inauguration of President
Biden on the west side of the building (Figure 6). PATTERSON and HOLDEN scaled these steps
only minutes after the police line established on the West Plaza fell after rioters forced their way
through the line.




Figure 6: PATTERSON (circled in red) and HOLDEN (circled in yellow) climbing the bleachers
    of the Inaugural Stage at 2:33 p.m., minutes after the police line fell on the West Plaza.

       At approximately 2:33 p.m. on January 6, the Upper West Terrace Door of the Capitol was
breached by the rioters. At approximately 2:36 p.m., I observed PATTERSON and HOLDEN on
CCTV entering the U.S. Capitol Building through the Upper West Terrace Door (Figure 7).
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 Figure 7: PATTERSON (circled in red) and HOLDEN (circled in yellow) entering the Capitol
                   through the Upper West Terrace Door at 2:36 p.m.

        Police officers at the end of the corridor attempted to prevent the rioters from entering, and
PATTERSON and HOLDEN were forced to stop just inside the doorway. PATTERSON, along
with others in the crowd, appeared to chant “Let us in.” A short time later the crowd began moving
again, entering further into the U.S. Capitol Building.

        PATTERSON and HOLDEN were then observed walking in and through the Rotunda,
traveling south through Statuary Hall, then coming to a stand still in the hallway which connects
Statuary Hall and the House of Congress.

        At approximately 2:41 p.m., I observed PATTERSON and HOLDEN on CCTV standing
in the above hallway with a large group of rioters (Figure 8). The rioters appeared to be chanting
“break it down.” Approximately 30 seconds later the crowd starts to move toward the Main House
Chamber Door.
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    Figure 8: PATTERSON (circled in red) and HOLDEN (circled in yellow) standing in the
   Statuary Hall Connector at 2:41 p.m. before approaching the Main House Chamber Door.

        At approximately 2:51 p.m., MPD BWC footage showed PATTERSON standing in
between the first and second set of doors (foyer) to the Main House Chamber Door. The BWC
also showed HOLDEN standing outside of the first set of doors. I observed an officer asking
HOLDEN to leave the area, at which time HOLDEN stated “Not yet,” and moments later, “I have
a friend up there.” PATTERSON and HOLDEN did not immediately leave even after the officer
pleaded with them, saying “Please come on out. Please come on out.” PATTERSON and
HOLDEN only left after officers pulled them out of by their jackets (Figures 9 and 10). Even after
the officer grabbed onto PATTERSON’s jacket, he did not comply fully. The BWC shows
PATTERSON actively resisting the officer’s attempts to clear him from the area.
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Figure 9: Officer grabbing onto HOLDEN’s jacket and asking him to leave the area near the
                               Main House Chamber Door.




     Figure 10: Officer grabbing onto PATTERSON’s jacket and asking him to leave the area
                           near the Main House Chamber Door.
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        PATTERSON and HOLDEN then made their way into the Rotunda and walked toward the
West entry/exit doorway which was being blocked by a line of police officers. While near this
area, the mob successfully breached the police line protecting this doorway. PATTERSON was
observed lowering his head and pushing against the backs of the rioters in front of him in an effort
to overwhelm the police line. HOLDEN appeared in the video seconds later and pushed against
PATTERSON’s back, joining the push against the police line (Figure 11).




 Figure 11: PATTERSON (circled in red) and HOLDEN (circled in yellow) pushing against the
          backs of other rioters in an effort to breach the police line at the doorway.

         After the police line broke, officers attempted to re-establish the police line at the doorway
and ultimately PATTERSON and HOLDEN were pushed back into the Rotunda. From
approximately 3:02 p.m. to 3:03 p.m., as PATTERSON was pushed out into the Rotunda and
officers continued to reinforce their line, PATTERSON positioned himself in the front of the police
line and stated, “There’s too many of us. Just let us pass. We’re just trying to be peaceful. We
haven’t broken anything. No one has gotten hurt. Let us just go. Look, we’re not being violent,
we’re not being violent. Let us pass.” HOLDEN stood next to PATTERSON during the majority
of this incident (Figure 12). Officers pushed PATTERSON back and stated, “Back up, back up.”
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 Figure 12: PATTERSON (circled in red) confronting officers after being pushed back into the
                  Rotunda. HOLDEN (circled in yellow) stood nearby.

        At approximately 3:04 p.m., BWC footage captured an officer instructing the rioters in the
Rotunda, including HOLDEN, to leave, using clear language like “Let’s go” and “Out.” HOLDEN
replied, “We will in a sec” and “We will, we will, hold on.” HOLDEN ignored the officer’s
commands and he was forcibly removed from the area near the west doorway (Figure 13).




 Figure 13: HOLDEN (circled in yellow) being instructed to leave by officers in the Rotunda at
                                 approximately 3:04 p.m.
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       As HOLDEN was removed from the area near the west doorway, HOLDEN attempted to
grab onto PATTERSON but was unable to maintain his grasp. The same officer then instructed
PATTERSON to leave, saying “Move back” and using his baton (Figure 14). PATTERSON did
not immediately leave and yelled, “We’re not being violent.”




 Figure 14: PATTERSON being instructed to leave by officers in the Rotunda at approximately
                                       3:04 p.m.

       PATTERSON and HOLDEN then continued to demonstrate inside the Rotunda of the U.S.
Capitol building for approximately 6 more minutes. PATTERSON and HOLDEN exited the U.S.
Capitol through the East Rotunda Doors at approximately 3:12 p.m.

       In sum, PATTERSON and HOLDEN remained inside the U.S. Capitol Building for
approximately 36 minutes, from 2:36 p.m. to 3:12 p.m. They were on restricted Capitol Grounds
for even longer.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
BLAKE PATTERSON and RYAN HOLDEN violated 18 U.S.C. § 1752(a)(1) and (2), which
makes it a crime to (1) knowingly enter or remain in any restricted building or grounds without
lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
of Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.
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        Your affiant submits there is also probable cause to believe that BLAKE PATTERSON
and RYAN HOLDEN violated 40 U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.




                                                     SPECIAL AGENT
                                                     FEDERAL BUREAU OF
                                                     INVESTIGATION




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 9th day of September 2024.




                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
